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            EXHIBIT D
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Cathode Ray Tube Antitrust Litigation
Report on Exclusions Received for Hitachi / Samsung SDI

ClaimID             FirstName               LastName      City         State   OptOut Date
n/a                 Arlene J                Smith         Grandville   MI         4/28/2014
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                                                                                     Date of
Entity                         Subsidiaries                                         Exclusion
ViewSonic Corporation          ViewSonic International Corporation                  6/12/2014
                               ViewSonic Display Limited
                               ViewSonic Hong Kong Limited
                               ViewSonic Europe Limited

Target Corporation                                                                  6/12/2014

Tech Data Corporation          1250895 Ontario Ltd                                  6/11/2014
                               A.Y.C Nederland B.V.
                               Azlan European Finance Limited
                               AzlanGmbH
                               Azlan Group Limited
                               Azlan Limited
                               Azlan Logistics Limited
                               Azlan Overseas Holdings Ltd.
                               Azlan Scandinavia AB
                               Computer 2000 Distribution Ltd.
                               Datatechnology Datech Ltd.
                               Datech 2000 Ltd.
                               FCB Nominees Limited
                               Frontline Distribution Ltd.
                               Frontline Distribution (Ireland) Ltd.
                               Hakro‐Ooseterberg‐Nijkerk B.V.
                               Horizon Technical Services (UK) Limited
                               Horizon Technical Services AB
                               Hotlamps Limited
                               lSI Distribution Ltd.
                               Managed Training Services Limited
                               Maneboard Ltd
                               Maverick Presentation Products Limited
                               Quadrangle Technical Services Limited
                               Screen Expert Limited UK
                               Specialist Distribution Group (SDG) Limited
                               Tech Data Brasil, Ltda
                               TD Facilities, Ltd. (Partnership)
                               TD Fulfillment Services, LLC
                               TD Tech Data AB
                               TD Tech Data Portugal Lda
                               TD United Kingdom Acquisition Limited
                               Tech Data (Netherlands) B.Y.
                               Tech Data (Schweiz) GmbH
                               Tech Data bvba/sprl
                               Tech Data Canada Corporation
                               Tech Data Chile S.A.
                               Tech Data Colombia S.A.S.
                               Tech Data Corporation ("TDC")
                               Tech Data Demnark ApS
                               Tech Data Deutschland GmbH
                               Tech Data Distribution s.r.o.
                               Tech Data Education, Inc.
                               Tech Data Espana S.L.U.
                               Tech Data Europe GmbH
                               Tech Data Europe Services and Operations, S.L.
                               Tech Data European Management GmbH
                               Tech Data Finance Partner, Inc.
                               Tech Data Finance SPV, Inc.
                               Tech Data Financing Corporation
                               Tech Data Finland OY
                               Tech Data Florida Services, Inc.
                               Tech Data France Holding SarI
                               Tech Data France S.A.S
                               Tech Data GmbH & Co OHG
                               Tech Data Information Technology GmbH
                               Tech Data Global Finance LP
                               Tech Data International SarI
                               Tech Data Italia s.r.l.
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                                                                                                                                        Date of
Entity                                       Subsidiaries                                                                              Exclusion
                                             Tech Data Latin America, Inc.
                                             Tech Data Limited
                                             Tech Dara Lux Finance Sari
                                             Tech Data Luxembourg Sari
                                             Tech Data Management GmbH
                                             Tech Data Marne SNC
                                             Tech Data Mexico S. de R. L. de C. V.
                                             Tech Data Midrange GmbH

                                             Tech Data Mobile Acquisition Limited (formerly known as Brightstar Acquisition Limited)

                                             Tech Data Mobile Austria, GmbH (formerly known as AKL Telecommunications GmbH)
                                             Tech Data Mobile Belgium, BVBA (formerly known as M.C.C Belgium BVBA)
                                             Tech Data Mobile CooperatiefWA (formerly known as Brightstar CooperatiefW.A.)
                                             Tech Data Mobile Limited (formerly known as Brightstar Europe Limited)
                                             Tech Data Mobile Netherlands B.V. (formerly known as M.C.C BV)
                                             Tech Data Nederland B.V.
                                             Tech Data Norge AS
                                             Tech Data Operations Center, SA
                                             Tech Data Dsterreich GmbH
                                             Tech Data Peru S.A.C.
                                             Tech Data Polska Sp.z.o.o.
                                             Tech Data Product Management, Inc.
                                             Tech Data Resources, LLC
                                             Tech Data Service GmbH
                                             Tech Data Servicios, S. de R.L. de C. V.
                                             Tech Data Strategy GmbH
                                             Tech Data Tennessee, Inc.
                                             Tech Data Uruguay S.A.
                                             Triade Holding B. V.

IGB Eletronica S/A                           Gradiente Audio e Video LTDA                                                              6/12/2014
                                             Gradiente Electronica S/A

Cemaz Industria Eletronica da Amazonia S/A   Componel Industria e Comercio LTDA.                                                       6/12/2014
                                             Santron Industrias Electroeletronicas LTDA

Apple Inc.                                   Apple Inc.                                                                                6/12/2014
                                             Apple Operations
                                             Apple Operations Europe (flk/a Apple Computer Limited)
                                             Apple Operations Europe (flk/a Apple Computer Limited) (Singapore branch)
                                             Apple Computer International
                                             Apple Computer Inc.

P.C. Richard & Son Long Island Corporation   P.C. Richard & Son Long Island Corporation                                                6/10/2014
                                             A.J. Richard & Sons, Inc.
                                             P.C. Richard & Son, LLC
                                             P.C. Richard Service Company
                                             Alfred Reliable Appliances, Inc.
                                             Reliable Richard's Service Corp.
                                             AGP Services Corp.
                                             Two Guys Ventures Corp.
                                             A.J. Staten Island, LLC
                                             P.C. Deer Park, LLC
                                             P.C. 185 Price Parkway, LLC
                                             P.C. 1574, Inc.
                                             P.C. 1574 Milford, LLC
                                             P.C. Lawrenceville, LLC
                                             P.C. Brick 70, LLC
                                             P.C. Richard & Son Connecticut, LLC

Interbond Corporation of America             dba BrandsMart USA                                                                        6/10/2014

Schulze Agency Services                      Tweeter Newco, LLC                                                                        6/10/2014
                                             Tweeter Opco, LLC
                                             Tweeter Intellechlal Property, LLC
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                                                                                                                               Date of
Entity                           Subsidiaries                                                                                 Exclusion
                                 Tweeter Tivoli, LLC
                                 Tweeter Home Entertainment Group, Inc.
                                 Sound Advice, Inc. d/b/a Sound Advice and Showcase Home Entertainment
                                 Hifi Buys Incorporated
                                 Tweeter Etc.
                                 Douglas TV & Appliance, Inc.
                                 Douglas Audio Video Caters, Inc.
                                 United Audio Centers, Inc.
                                 Sumere Electronics Incorporated d/b/a NOW! Audio Video
                                 Bryn Mawr Radio and Television, Inc.
                                 The Video Scene, Inc. d/b/a Big Screen City
                                 Hillcrest High Fidelity, Inc. d/b/a Hillcrest Audio
                                 DOW StereoNideo, Inc.
                                 Home EntertailUl1ent of Texas, Inc.
                                 SMK Marketing, Inc. d/b/a Audio Video Systems
                                 Sound Advice of Arizona, Inc.
                                 New England Audio Co., Inc.
                                 NEA Delaware, Inc.
                                 THEG USA L.P.
                                 Showcase Home Entertainment

MARTA Cooperative of America                                                                                                  6/10/2014

CompuCom Systems, Inc                                                                                                         6/10/2014

ABC Appliance, Inc.              dba ABC Warehouse                                                                            6/10/2014

Office Depot, Inc.               Office Depot Asia Holding Limited                                                            6/10/2014
                                 Office Depot BA SAS (f.k.a. Guilbert France S.AS.)
                                 Office Depot BVBA (f.k.a. Guilbert Belgium BVBA)
                                 Office Depot Brasil Limitada (inactive)
                                 Office Depot Brasil Participacoes Limitad
                                 Office Depot Centro America, SA de CV
                                 Office Depot Chile Limitada (inactive)
                                 Office Depot Cyprus Limited (f.k.a Claigan Ltd.)
                                 Office Depot Delaware Overseas Finance No.1, LLC (f.k.a Office Depot Delaware Overseas
                                 Finance No.1, Inc.)
                                 Office Depot de Mexico SA de CV
                                 Office Depot Deutschland GmbH (f.k.a Guilbert Deutschland GmbH)
                                 Office Depot France SNC (f.k.a Office Depot France SAS )
                                 Office Depot Hungary Kft (f.k.a Elso Iroda Superstore Kft.)
                                 Office Depot, Inc.
                                 Office Depot International BVBA
                                 OD International (Luxembourg) Finance
                                 Office Depot, B. V. (formerly Guilbert Netherland BV)
                                 Office Depot Cooperatief W.A.
                                 Office Depot Europe B. V.
                                 Office Depot Europe Holdings Ltd.
                                 Office Depot GmbH + Switzerland
                                 Office Depot Holding GmbH + Switzerland
                                 Office Depot Holdings Ltd.
                                 Office Depot Holdings 2 Ltd.
                                 Office Depot Holdings 3 Ltd.
                                 Office Depot International B.V.
                                 Office Depot International (UK) Ltd.
                                 Office Depot Ireland Limited (f.k.a Guilbert Ireland Ltd)
                                 Office Depot (Israel) Ltd.
                                 Office Depot Italia S.r.1.
                                 Office Depot Japan Limited
                                 Office Depot Korea Limited (f.k.a Best Office Co., Ltd.)
                                 Office Depot Latin American Holdings B.V.
                                 Office Depot MDF SNC
                                 Office Depot NA B. V.
                                 Office Depot N.A. Shares Services LLC
                                 Office Depot Netherland B.V. (f.k.a Office Depot International, B.V.) (f.k.a Viking Direct
                                 (Holdings) B.V.)
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                                                                                                                       Date of
Entity                   Subsidiaries                                                                                 Exclusion
                         Office Depot Network Technology Ltd.
                         Office Depot (Operations) Holding B.V. (f.k.a Guilbert Trademarks B.V.)
                         Office Depot Overseas Limited
                         Office Depot Overseas Holding Limited
                         Office Depot Overseas 2 Limited
                         Office Depot Poland Sp Z.O.o. (f.k.a Fontinalis)
                         Office Depot Private Limited
                         Office Depot Procurement and Sourcing (Shenzhen) Company Ltd. (Or translated: Office Depot
                         Merchandising (Shenzhen) Company Ltd.)
                         Office Depot Puerto Rico, LLC
                         Office Depot SAS (f.k.a Guilbert SAS)
                         Office Depot Service Center SRL
                         Office Depot Service ‐ und BeteiligungsGmbH&Co.KG
                         Office Depot s.r.o. (f.k.a Papirius s.r.o.)
                         Office Depot S.L. (f.k.a Guilbert Espana S.L.)
                         Office Depot Tokumei Kumiai
                         Office Depot UK Limited (f.k.a Guilbert UK Ltd)
                         Office Depot ‐Viking Holdings B.V.
                         2300 South Congress LLC
                         4Sure.com, Inc.
                         AGE Kontor & Data AB
                         AsiaEC.com Limited
                         BizDepot, LLC (inactive)
                         Centro de Apoyo Caribe SA de CV
                         Centro de Apoyo SA de CV
                         Computers4Sure.com, Inc.
                         Curry's Limited
                         Deo Deo Tokumei Kumiai
                         eOffice Planet India Private Limited
                         Erial BQ S.A.
                         Europa S.A.S.
                         Gosta Hansson & Co AB
                         Guilbert Beteiligungsholding GmbH
                         Guilbert International B. V.
                         Guilbert Luxembourg S.AR.L.
                         Guilbert UK Holdings Ltd
                         Guilbert UK Pension Trustees Ltd
                         HC Land Company LLC
                         Helge Dalmberg AB + Sweden
                         Heteyo Holdings B V.
                         Hutter GmbH
                         Japan Office Supplies, LLC
                         Kontorsfackhandlama Stockholm AB + Sweden
                         Kontorsgruppen i Sverige AB + Sweden
                         NEWGOH Immobilienverwaltung GmbH
                         Neighborhood Retail Development Fund, LLC (inactive)
                         Niceday Distribution Centre Ltd
                         North American Card and Coupon Services, LLC
                         Notus Aviation, Inc.
                         OD Acquisition Canada ULC
                         OD Aviation, Inc.
                         OD Colombia Ltda
                         OD EI Salvador, Ltda. de C.V.
                         OD France, LLC
                         ODV France LLC
                         ODG Caribe SA de CV (f.k.a Urguguay Cia. Papelera, SA de CV)
                         OD Guatemala y Compania. Limitada
                         OD Honduras S de RL
                         OD International, Inc.
                         OD International Holdings CV
                         OD International (Luxembourg) Holdings S.A.R.L.
                         OD International (Luxembourg) Participation S.A.R.L.
                         OD Management SNC
                         OD Medical Solutions LLC
                         OD of Texas, LLC (f.k.a OD of Texas Inc.)
                         ODPanamaSA
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                                                                                                                             Date of
Entity                          Subsidiaries                                                                                Exclusion
                                OD S.N.C.
                                ODST, LLC (inactive)
                                OD Tressorerie (f.k.a om S.N.C.)
                                Office 1 Ltd
                                Office 1 (1995) Ltd
                                Office Club, Inc.
                                OfficeMax Contract, Inc. (f.k.a. Boise Cascade Office Products Corporation)
                                OfficeMax Incorporated (f.k.a. Boise Cascade Corporation)
                                OfficeMax North America, Inc. (f.k.a. OfficeMax, Inc.)
                                OfficeSupplies.com, Inc.
                                Office Town, Inc. (inactive)
                                Papirius Kft.
                                Pappersnabben i Malmo AB + Sweden
                                Patitucci Ltd.
                                Reliable Uk Ltd
                                Ritma AB + Sweden
                                S.A.R.L.
                                Servicios Administrativos Office Depot SAdeCV
                                Servicios y Material De Escritorio S.L.
                                Solutions4Sure.com, Inc.
                                Stichting Office Depot Charity for Children
                                Swinton Avenue Trading Limited, Inc.
                                The Reliable Corporation
                                Viking Direct B.V.
                                Viking Direct (Holdings) Limited
                                Viking Direct (Ireland) Limited (f.k.a Viking Direct (Ireland) Limited; then Office Depot
                                International (Ireland) Limited ‐new change effective as of 912004)
                                Viking Direct S.A.R.L.
                                Viking Direkt GesmbH
                                Viking Finance (Ireland) Limited
                                Viking Office Products, Inc.
                                Viking Office Products KK
                                Viking Office Products S.r.l. (f.k.a Viking Direct SrI)
                                VOP (Ireland) Limited
                                VPC System S.r.l (inactive)

Circuit City                    Alfred H Siegel, Trustee                                                                    6/5/2014

Sears Roebuck / Kmart           Sears, Roebuck and Co.                                                                      6/4/2014
                                Sears Holding Corporation
                                Sears Holding Management Corporation
                                Kmart Corporation
                                Kmart Management Corporation
                                Kmart Holdings Corporation

Electrograph Systems, Inc.      Electrograph Systems, lnc.                                                                  5/22/2014
                                International Computer Graphics, Inc.
                                ActiveLight, Inc.
                                CineLight Corporation
                                Manchester Technologies, Inc.
                                Manchester Equipment Co., Inc.
                                Champion Vision, Inc.
                                Coastal Office Products, Inc.
                                Electrograph Technologies Corp.

Costco Wholesale Corporation                                                                                                4/23/2014

Best Buy                         Best Buy Co., Inc.                                                                         5/12/2014
                                 Best Buy Purchasing, LLC
                                 Best Buy Enterprise Services, Inc.
                                 Best Buy Stores, L.P.
                                 BestBuy.com, LLC
                                 Magnolia Hi‐Fi, Inc.

Dell Inc                         1397639 Ontario, Inc.                                                                      6/26/2014
                                 26éme Avenue SAS
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                                                                                            Date of
Entity                   Subsidiaries                                                      Exclusion
                         881229 Alberta ULC
                         Abu Dhabi Branch of PSC Healthcare Software, Inc.
                         Active Concepts Inc.
                         Active Concepts PTY
                         Aelita Software Branch, Moscow
                         Aelita Software Branch, St. Petersburg
                         Aelita Software Corporation
                         Aelita Software Limited (UK)
                         Alienware Corporation
                         Alienware Corporation (Pacific Rim), Pty Ltd.
                         Alienware Labs Corporation
                         Alienware Latin America, S.A (Renamed Dell Costa Rica SA)
                         Alienware Limited
                         AppAssureTechnologies Inc.
                         ASAP Software Express Inc.
                         Aventail Europe Ltd
                         Aventail LLC
                         BakBone Software GmbH
                         BakBone Software India Pvt. Ltd.
                         BakBone Software Ltd.
                         BakBone Software Ltd. Russia Branch
                         BakBone Software SARL
                         BakBone Software, Inc.
                         Bearing PointManagement Consulting (Shanghai) Ltd.
                         BitKooCA LLC
                         Bluefolder, Inc
                         Bolts Acq. Corp.
                         Boomi, Inc
                         Bracknell Boulevard (Block C) L.L.C.
                         Bracknell Boulevard (Block D) L.L.C.
                         Bracknell Boulevard Management Company Limited
                         Branch of Dell (Free ZoneCompany L.L.C.)
                         Canada Branch of Perot Systems Corporation
                         Change Base Ltd
                         Charonware s.r.o.
                         Clerity Solutions, Inc.
                         Coldspark, Inc.
                         Compellent Technologies France Sarl
                         Compellent Technologies Germany GmbH
                         Compellent Technologies Inc.
                         Compellent Technologies International Ltd.
                         Compellent Technologies Italy Srl
                         Compellent Technologies Netherlands BV
                         Corporacion Dell de Venezuela SA
                         Credant Technologies International, Inc. (France)
                         Credant Technologies International, Inc. (Switzerland)
                         Credant Technologies Inc.
                         Credent Technologies, Inc.
                         Credant Technologies UK
                         Credent Technologiesm UK (Branch of Credent Technologies, Inc.)
                         CSCAN Acquisition Corp.
                         DCC Executive Security Inc.
                         Dell (Chengdu) Company Limited
                         Dell (China) Company Limited
                         Dell (China) Company Limited, Beijing Branch
                         Dell (China) Company Limited, Beijing Liaison Office
                         Dell (China) Company Limited, Chengdu Branch
                         Dell (China) Company Limited, Chengdu Liaison Office
                         Dell (China) Company Limited, Dalian Branch
                         Dell (China) Company Limited, Guangzhou Branch
                         Dell (China) Company Limited, Guangzhou Liaison Office
                         Dell (China) Company Limited, Hangzhou Liaison Office
                         Dell (China) Company Limited, Nanjing Liaison Office
                         Dell (China) Company Limited, Shanghai Branch
                         Dell (China) Company Limited, Shanghai Liaison Office
                         Dell (China) Company Limited, Shenzhen Liaison Office
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                                                                                                                     Date of
Entity                   Subsidiaries                                                                               Exclusion
                         Dell (China) Company Limited, Xiamen Branch
                         Dell (PS) BV (f.k.a. Perot Systems Nederland B.V.)
                         Dell (Switzerland) GmbH
                         Dell (Xiamen) Company Limited
                         Dell (Xiamen) Company Limited, Dalian Branch
                         Dell A.B.
                         Dell A.S.
                         Dell A/S
                         Dell America Latina Corp.
                         Dell America Latina Corp.,Argentina Branch
                         Dell Asia B.V.
                         Dell Asia Holdings Pte. Ltd.
                         Dell Asia Pacific Sdn Bhd (Pakistan Liaison Office)
                         Dell Asia Pacific Sdn.
                         Dell Asia Pacific Sdn. Philippines RepresentativeOffice
                         Dell Asia Pte. Ltd.
                         Dell Asset Revolving Trust
                         Dell Asset Securitization GP L.L.C.
                         Dell Asset Securitization Holding L.P.
                         Dell Australia Pty. Limited
                         Dell B.V.
                         Dell B.V., Taiwan Branch
                         Dell Canada Inc.
                         Dell Colombia Inc.
                         Dell Colombia Inc., Colombia Branch
                         Dell Computadores do Brasil Ltda.
                         Dell Computer (Proprietary) Ltd
                         Dell Computer de Chile Ltda.
                         Dell Computer EEIG
                         Dell ComputerHoldings L.P.

                         Dell Computer International (II) – Comercio de Computadores Sociedade UnipessoalLda
                         Dell Computer S.A.
                         Dell Computer Services de Mexico SA de CV
                         Dell Computer spol. sro
                         Dell Conduit Funding L.P.
                         Dell Conduit GP L.L.C.
                         Dell Corporation (Thailand) Co., Ltd.
                         Dell Corporation Limited
                         Dell Corporation Limited – Northern Ireland Place of Business
                         Dell DFS Canada Inc.
                         Dell DFS Corporation
                         Dell DFS Holdings Kft.
                         Dell DFS Holdings L.L.C.
                         Dell DFS Ltd
                         Dell DFS Ltd. ‐ Spain Branch
                         Dell Direct

                         Dell Distribution (EMEA) Limited External Company (Ghana) [renamed Dell Emerging Markets
                         (EMEA) Limited External Company (Ghana)]
                         Dell DistributionMaroc (Succ)
                         Dell Emerging Market (EMEA) Ltd (Russia Representative Office)
                         Dell Emerging Markets (EMEA) Limited
                         Dell Emerging Markets (EMEA) Limited ‐ Egypt RepresentativeOffice
                         Dell Emerging Markets (EMEA) Limited – Representative Office
                         Dell Emerging Markets (EMEA) Limited ‐ Representative Office (Jordan)
                         Dell Emerging Markets (EMEA) Limited ‐ Representative Office (Republic of Croatia)
                         Dell Emerging Markets (EMEA) Limited (Kazakhstan Representative Office)
                         Dell Emerging Markets (EMEA) Limited (Uganda RepresentativeOffice)

                         Dell Emerging Markets (EMEA) Limited Magyarorszagi Kereskedelmi Kepviselet – Rep. Office
                         Dell Emerging Markets (EMEA) Limited Representative Office ‐ Lebanon
                         Dell Emerging Markets (EMEA) Limited Trade Representative Office (Bulgaria)
                         Dell Equipment Funding L.P.
                         Dell Equipment GP L.L.C
                         Dell Export Sales Corporation
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                                                                                                                                  Date of
Entity                    Subsidiaries                                                                                           Exclusion
                          Dell Federal Systems Corporation
                          Dell Federal Systems GP L.L.C.
                          Dell Federal Systems L.P.
                          Dell Federal Systems LP L.L.C.
                          Dell Financial Services L.L.C.
                          Dell Funding L.L.C.
                          Dell FZ – LLC
                          Dell FZ ‐LLC ‐ Qatar Branch
                          Dell FZ‐LLC– Bahrain Branch
                          Dell Gesm.b.H.
                          Dell Global B.V.
                          Dell Global B.V., Singapore Branch
                          Dell Global Business Center Sdn. Bhd.
                          Dell Global BV (Bangladesh RepresentativeOffice)
                          Dell Global BV (Indonesia RepresentativeOffice)
                          Dell Global BV (Pakistan Liaison Office)
                          Dell Global BV (Philippines RepresentativeOffice)
                          Dell Global BV (Sri‐Lanka RepresentativeOffice)

                          Dell Global BV (Vietnam Representative Office), renamed Dell Global BV (Hanoi Representative
                          Office)
                          Dell Global Holdings II BV
                          Dell Global Holdings III BV
                          Dell Global Holdings III L.P.
                          Dell Global Holdings IV L.L.C.
                          Dell Global Holdings IX L.L.C.
                          Dell Global Holdings L.L.C.
                          Dell Global Holdings Ltd.
                          Dell Global Holdings VI L.L.C.
                          Dell Global Holdings VII L.L.C.
                          Dell Global Holdings VIII L.L.C
                          Dell Global Holdings X L.L.C
                          Dell Global International B.V.
                          Dell Global Procurement Malaysia Sdn. Bhd.
                          Dell Global Pte. Ltd.
                          Dell GmbH
                          Dell Guatemala Ltda
                          Dell Halle GmbH
                          Dell Honduras S de RL de CV
                          Dell HongKong Limited
                          Dell Hungary Technology Solutions Trade LLC
                          Dell III – Comercio de Computadores,Unipessoal LDA
                          Dell India (Sales &Marketing) Private Limited
                          Dell India Private Ltd.
                          Dell Information Technology (Hunan) Company Limited
                          Dell Information Technology (Kunshan) Company Limited
                          Dell International Holdings I L.L.C.
                          Dell International Holdings IX B.V.
                          Dell International Holdings Kft.
                          Dell International Holdings SAS
                          Dell International Holdings VIII B.V.
                          Dell International Holdings X B.V.
                          Dell International Holdings XII CoöperatoefU.A.
                          Dell International Inc.
                          Dell International L.L.C.

                          Dell International Services India Private Limited (f.k.a. Perot Systems TSI (India) Private Limited)
                          Dell International Services Philippines Inc.
                          Dell International Services SRL
                          Dell Japan Inc.
                          Dell L.L.C.
                          Dell Marketing Corporation
                          Dell MarketingGP L.L.C.
                          Dell Marketing L.P.
                          Dell Marketing LP L.L.C.
                          Dell Mexico, S.A. de C.V.
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                                                                                                                  Date of
Entity                    Subsidiaries                                                                           Exclusion
                          Dell N.V.
                          Dell New Zealand Limited
                          Dell Panama S. de R.L.
                          Dell Perú, SAC
                          Dell Procurement (Xiamen) Company Limited
                          Dell Procurement (Xiamen) Company Limited, Shanghai Branch
                          Dell Procurement (Xiamen) Company Limited, Shenzhen Liaison Office
                          Dell Product and Process Innovation Services Corp.
                          Dell Products
                          Dell Products (Europe) B.V.
                          Dell Products (Poland) Sp. z o.o
                          Dell Products Corporation
                          Dell Products GP L.L.C.
                          Dell Products L.P.
                          Dell Products LP L.L.C.
                          Dell ProductsManufacturing Ltd.
                          Dell Protective Services Inc.
                          Dell Puerto Rico Corp.
                          Dell Quebec Inc.
                          Dell Receivables Corporation
                          Dell Receivables GP L.L.C.
                          Dell Receivables L.P.
                          Dell Receivables LP L.L.C.
                          Dell Research
                          Dell Revolver Company L.P.
                          Dell Revolver Funding L.L.C.
                          Dell Revolver GP. L.L.C.
                          Dell S.A.
                          Dell S.A.
                          Dell S.p.A.
                          Dell s.r.o.
                          Dell SA
                          Dell Sales Malaysia Sdn Bhd
                          Dell SAS
                          Dell Services (China) Company Limited

                          Dell Services Federal Government, Inc. (fka Perot Systems Government Services, Inc.)
                          Dell Services GmbH (FKA. Perot Systems (Germany) GmbH)
                          Dell Services S.r.l.
                          Dell Singapore Pte. Ltd.
                          Dell Services Pte. Ltd. (f/k/a Perot Systems (Singapore) Pte. Ltd.)
                          DELL SOLUTIONS(UK) LTD
                          Dell Sp.z.o.o.
                          Dell Taiwan B.V.
                          Dell Taiwan B.V., Taiwan Branch
                          Dell Technology & Solutions (Nigeria) Limited
                          Dell Technology & Solutions Israel Ltd.
                          Dell Technology & Solutions Ltd. (Formerly Original Solutions Limited)
                          Dell Technology Products and Services S.A
                          Dell Technology Services Inc. S.R.L.
                          Dell Teknoloji Limited Şirketi
                          Dell Trinidad and Tobago Limited
                          Dell USA Corporation
                          Dell USA GP L.L.C.
                          Dell USA L.P.
                          Dell USA LP L.L.C.
                          Dell World Trade Corporation
                          Dell World Trade GP L.L.C.
                          Dell World Trade L.P.
                          Dell World Trade LP L.L.C.
                          DFS BV
                          DFS Equipment Holdings, LP
                          DFS Equipment Remarketing LLC
                          DFS Funding L.L.C.
                          DFS‐SPV L.L.C.
                          DIH IX CV
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                                                                                Date of
Entity                    Subsidiaries                                         Exclusion
                          DIH VI CV
                          DIH VII CV
                          DIH VIII CV
                          DIH X CV
                          EqualLogic Japan Company Limited
                          Fastlane Technologies Corporation
                          Fastlane Technologies UK
                          Force10 International, Ltd.
                          Force10 Networks (Shanghai) Ltd.
                          Force10 Networks Australia Pty. Ltd.
                          Force10 Networks Germany (Branch)
                          Force10 Networks Global, Inc.
                          Force10 Networks Hong Kong (Branch)
                          Force10 Networks India Pvt. Ltd.
                          Force10 Networks International, Inc.
                          Force10 Networks KK
                          Force10 Networks Korea YH
                          Force10 Networks Ltd.
                          Force10 NetworksMalaysia (Branch)
                          Force10 Networks Singapore Pte. Ltd.
                          Force10 Networks Spain (Rep office)
                          Force10 Networks, Inc.
                          Fresh Dew Investments Ltd.
                          Fvision Acquisition Corp.
                          Gale Networks PrivateLimited
                          Gale Technologies, Inc.
                          Imceda Software Australia Pty, Ltd.
                          Imceda Software Inc.
                          Imceda Technologies Pty, Ltd.
                          Invirtus, Inc.
                          Lecco Technology (UK) Limited
                          Lecco Technology Inc.
                          Lecco Technology, Inc. (USA)
                          License Technologies Group, Inc.
                          LLC Dell Ukraine
                          Lumenare NetworksMauritius Ltd.
                          Magnum Technologies, Inc.
                          MakeTechnologies Inc.
                          Messagewise
                          Muretia Investments Ltd
                          NetPro Computing Canada, Inc.
                          NetPro Computing France, Inc.
                          NetPro ComputingGermany, Inc.
                          NetPro ComputingUK, Inc.
                          NetPro Computing, Inc.
                          NetPro Engineering, Inc.
                          NetPro Europe Branch
                          NetPro Europe, Inc.
                          NetPro France Branch
                          NetProGermany Branch
                          NetProUK Branch
                          Ocarina Networks India Pvt. Ltd.
                          OptiGrowth CapitalSarl
                          Oy Dell A.B.
                          PacketTrap Networks, Inc.
                          PassGo Technologies Ltd
                          PassGo Technologies Trustees Ltd
                          Perot Systems (Malaysia) Sdn. Bhd.
                          Perot Systems (Shanghai) Consulting Co., Limited
                          Perot Systems (Singapore) Pte. Ltd.
                          Perot Systems (Switzerland) GmbH
                          Perot Systems (UK) Ltd.
                          Perot Systems Application Solutions Inc.
                          Perot Systems B.V.
                          Perot Systems Communications Services, Inc.
                          Perot Systems Corporation
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                                                                                  Date of
Entity                    Subsidiaries                                           Exclusion
                          Perot Systems Europe Limited
                          Perot Systems Government Healthcare Solutions, Inc.
                          Perot Systems Government Solutions, Inc.
                          Perot Systems Healthcare Solutions, Inc.
                          Perot Systems Holdings Pte. Ltd
                          Perot Systems Investments B.V.
                          Perot Systems Revenue Cycle Solutions, Inc.
                          Perot Systems TSI (Bermuda) Ltd.
                          Perot Systems TSI (Hungary) Liquidity Management LLC
                          Perot Systems TSI (Mauritius) Pvt. Ltd.
                          Perot Systems TSI (Middle East) FZ‐LLC
                          Perot Systems TSI (Netherlands) B.V.
                          PrSM Corporation
                          PSC GP Corporation
                          PSC Healthcare Software, Inc.
                          PSC LP Corporation
                          PSC Management Limited Partnership
                          PSM Holdings 1, Inc.
                          PSM Holdings 2, Inc.
                          PSM Holdings 1 L.L.C.
                          PSM Holdings 2 L.L.C.
                          PT Dell Indonesia
                          Q.S.I. Quest Software Israel Limited
                          QSFT India Private Ltd. Inc.
                          QSFT Svenska AB
                          QSS Group, Inc.
                          Quest Acquisition Corporation
                          Quest Holding Company, LLC
                          Quest Holdings Sarl
                          Quest Java Support Center,BV
                          Quest New Zealand Ltd
                          Quest Public Sector Inc.
                          Quest Scandanavia AS
                          Quest Software (UK) Ltd.
                          Quest Software (Zhuhai) Ltd.
                          Quest Software Beijing Company Limited
                          Quest Software Belgium
                          Quest Software Canada, Inc.
                          Quest Software Company Limited
                          Quest Software Espana, SL
                          Quest Software France Sarl
                          Quest Software Gmbh
                          Quest Software Greater China Limited
                          Quest Software Int'l Limited
                          Quest Software Italia Srl
                          Quest Software Japan Ltd
                          Quest Software Korea Ltd.
                          Quest Software Limited (Lecco HK)
                          Quest Software Mexico S. de R.L. de C.V.
                          Quest Software Netherlands B.V.
                          Quest Software Norge S/A
                          Quest Software Pty, Ltd.
                          Quest Software Public Sector Inc
                          Quest Software Sales Sdn Bhd
                          Quest Software Singapore Pty Limited
                          Quest Software Switzerland Gmbh
                          Quest Software, Inc.
                          Quest Software, Ltd.
                          QuickCyckem Inc.
                          QuikCycle Inc.
                          Safari I, Inc.
                          Safari II GP LLC
                          Safari II, Inc.
                          Safari Limited II LP
                          Safari Limited Partnership
                          ScriptLogic Australia
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                                                                                Date of
Entity                    Subsidiaries                                         Exclusion
                          ScriptLogic Corporation
                          SecureWorks Holding Corp.
                          SecureWorks Inc.
                          SecureWorks UK Ltd.
                          SecureWorks UK Ltd. ‐ Finland Branch
                          Smarsh CRM Service, Inc.
                          Smarsh Inc.
                          Software Ltd Russia Rep Office
                          SonicWALL AG
                          SonicWALL BV
                          SonicWALL BV ‐ Australia Branch
                          SonicWALL BV ‐ Beijing Rep.Office
                          SonicWALL BV ‐ Belgium Branch
                          SonicWALL BV ‐ Canada Branch
                          SonicWALL BV ‐ Dubai Branch
                          SonicWALL BV ‐ France Branch
                          SonicWALL BV ‐ Germany Branch
                          SonicWALL BV ‐ HongKong Branch
                          SonicWALL BV ‐ India Branch
                          SonicWALL BV ‐ Ireland Branch
                          SonicWALL BV ‐ JapanBranch
                          SonicWALL BV ‐ Korea Branch
                          SonicWALL BV ‐ Singapore Branch
                          SonicWALL BV ‐ Spain Branch
                          SonicWALL BV ‐ Sweden Branch
                          SonicWALL BV ‐ Taiwan Branch
                          SonicWALL BV ‐ UK Branch
                          SonicWALL Infosecurity Private Limited
                          SonicWALL L.L.C.
                          SonicWALL Mexico, S de RL de CV
                          SonicWall Services Private Limited
                          SonicWALL Shanghai Limited
                          SonicWALL, Inc.
                          Support Center,BV (pka Sitraka)
                          Surgient, Inc.
                          Symlabs Espana, S.L.
                          Symlabs Inc.
                          Symlabs S.A. Portugal
                          Transaction Applications Group, Inc.
                          Trellia Networks, Inc.
                          Turin Networks India Pvt. Ltd.
                          Turin Networks International, Inc.
                          TXZ Holding Company Limited
                          Vintela Australia Pty., Ltd
                          Vintela Pty, Ltd.
                          Vintela, Inc.
                          VirtualFabrix Inc.
                          Vizioncore
                          Vkernel Corp.
                          Wedgetail Communications Inc.
                          WyseAustralia Pty. LtdAustralia
                          Wyse International, Inc.
                          Wyse International L.L.C.
                          WyseTechnology (Beijing) Co. Ltd China
                          WyseTechnology (Canada) Ltd.
                          WyseTechnology (UK), LTD
                          WyseTechnology Gmbh Germany
                          WyseTechnology Holdings (Cayman) Ltd.
                          WyseTechnology Inc.
                          WyseTechnology International B.V.
                          WyseTechnology KK Japan
                          WyseTechnology L.L.C.
                          WyseTechnology Ltd Taiwan
                          WyseTechnology SA France
                          WyseTechnology Sales &Marketing India Private Ltd.
                          WyseTechnology Singapore Pte Ltd
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                                                                                           Date of
Entity                         Subsidiaries                                               Exclusion
                               WyseTechonology China (HK) Ltd.
                               WyseTechonology S.A de C.V.
                               WyseTechonology Software Development India Private Ltd.

Sharp Corporation              Sharp Electronics Corporation                              6/26/2014
                               Sharp Manufacturing Company of America
                               Sharp Electronics Manufacturing Company of America
                               Sharp Electronics Manufacturing Company of America, Inc.
